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             DECLARATION E
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FATMA MAROUF AND BRYN ESPLIN,


                                                         Case No. 1:18-cv-378 (APM)
                Plaintiffs,

                v.
                                                         DECLARATION OF CATELYN
 XAVIER BECERRA, in his official capacity as
                                                         DEVLIN IN SUPPORT OF
 Secretary of the UNITED STATES
                                                         PLAINTIFF'S MOTION FOR
 DEPARTMENT OF HEALTH AND HUMAN
                                                         SUMMARY JUDGEMENT.
 SERVICES, et al.,

                        Defendants.



                          DECLARATION OF CATELYN DEVLIN.

I, Catelyn Devlin, do declare as follows:

       1. I make this declaration of my own personal knowledge; if called as a witness, I would

be competent to testify to the contents hereof.

       2. I was an intern with Catholic Charities of Fort Worth ("CCFW") Unaccompanied

Refugee Minor ("URM") and Unaccompanied Children ("UC") programs in or about 2010 and

2011, and then employed by CCFW in the URM/UC programs from 2011 to in or about October

of 2016. During that time, I worked as a Home Developer and later as a Program Manager. As a

home developer, I trained, evaluated (i.e. conducted home studies), licensed, and provided the

ongoing management of foster families. Once I became a Program Manager in 2013, I was

involved with recruitment and oversaw all foster parent training, home studies, evaluation of the

suitability of prospective foster parents, licensure, acceptance or denial of URM/UC referrals, the

placement of URM/UC children and youth in foster homes, and the ongoing management of

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foster parents working with URM/UC programs.

        3. Domestic foster care programs are separate from federal child welfare programs,

especially in terms of funding, foster youth eligibility, and admission into foster care. Since

contracts and funding sources for domestic youth, URM, and UC youth are different, youth

services are strictly separated for accounting purposes. This financial separation can impact

services, specifically in limiting the ability to share resources. In Texas, foster families are also

unable to be licensed with more than one foster care agency. CCFW was unable to place URM or

UC youth in foster homes serving domestic foster youth, creating a dramatically smaller pool of

available foster homes compared to homes available for domestic youth.

       4. Regarding difference in foster youth eligibility: youth eligibility for domestic foster

care involves safety risks within a parent-child relationship which reach the legal threshold for

grounds for the removal of the child from their caregivers. Youth eligibility for UR Ms or UCs

involves the child's history as it relates to their immigration status and their lack of an available

caregiver. Both child candidates for domestic foster care and child candidates for the URM/UC

program face documented safety risks, but local jurisdictions determine youth eligibility for

domestic foster care while federal agencies determine youth eligibility for the URM/UC

program. Further, children in domestic foster care are separated from their parents through legal

means while URM/UCs are separated from their parents largely through circumstances such as

war, persecution, or genocide.

       5. Regarding difference in admission: generally, once a child is determined to be eligible

for domestic foster care, local authorities remove the child from an unsafe situation and place

them in out-of-home care (i.e. foster care). Even if there are no foster homes available for

children in domestic foster care, local authorities still remove children due to imminent danger

and safety risks, and children may spend time in a shelter, residential facility, or even in local
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protective service providers' offices until a foster family can be found. For domestic foster care,

eligibility determination is consistently followed by admission into foster care as foster home

availability has no impact for the legal grounds for removal. However, eligible URMs are only

admitted into a federal foster care program if there are available foster homes to take them.

During my time at CCFW, by the time CCFW received referrals for URM/UC youth, URM/UC

youth had been deemed eligible for federal foster care by the federal government, and the last

step before they were admitted to the CCFW program was to determine if we had an available

foster home for them. If there were no available foster homes, URM youth would remain in

refugee camps and UC youth would remain in residential shelters. Eligibility for the URM

program does not mean the child will be admitted to the program despite a documented safety

risk of remaining unaccompanied in refugee camps or child immigrant shelters, as admission into

the CCFW program depends on available foster families. While admission is automatic for

domestic youth, admission for URM youth is dependent on available foster families.

       6. At CCFW, we recruited throughout North Texas to try to find enough foster families to

serve URM/UC youth in need. Between 2011 and 2015, our recruitment policy at CCFW stated

we could only license single individuals or "legally married couples." It was understood by staff

that by only licensing legally married couples, this automatically disqualified LGBTQ+ couples

from becoming licensed at CCFW due to the lack of marriage equality in Texas prior to 2015.

For single foster parent applicants, we did not directly ask about their sexual orientation but

asked about their dating history during the home study interview process. If the applicant

disclosed that they previously dated the opposite sex, we did not ask any further questions to

assess their sexual orientation and assumed that they were straight. To my knowledge no foster

parent applicants disclosed that they dated any same-sex persons during the home study process

during my time at CCFW. During my time at CCFW it was understood that we were not allowed
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to license openly gay or lesbian individuals. I first learned about this policy when I was an intern.

During the hiring process, I was asked to commit explicitly to adhering to this policy. During my

employment, this policy was enforced.

       7. While I was employed at CCFW, I recall a CCFW director stated explicitly that CCFW

employees should not even refer lesbian or gay applicants to other foster care agencies. I never

provided such a referral and I do not know of any instance when any other employee gave one.

       8. In the early years of my employment, I can remember an instance in which a gay man

called to inquire about becoming a foster parent. A coworker turned him away before he could

apply to become a foster parent, informing him that CCFW could not license him because he was

openly gay. I recall overhearing part of that conversation and that he sounded upset.

       9. This policy of prohibiting staff from accepting foster parent applications from lesbian

or gay people became more explicit in 2015 after the decision by the United States Supreme

Court in Obergefell v. Hodges which struck down laws banning same-sex couples from marriage

in June of 2015. In or about August of 2015, CCFW leadership informed our program

management staff that, because of the Obergefell v. 1 lodges ruling, Catholic Bishops in the U.S.

were evaluating whether to keep certain Catholic Charities programs in operation based on

whether the program would have to assist or work with LGBTQ+ couples. CCFW leadership

informed program management staff that Bishops have authoritative and unilateral power in

determining how Catholic Charities programs within their diocese (i.e. jurisdiction) interpret and

implement Catholic doctrine as a practical matter when administering programs, including

federal child welfare programs administered by Catholic Charities. CCFW leadership explained

that a process by which Bishops determine how to respond to issues like this was called

"Cooperation with Evil" (sometimes alternatively described as "Cooperation in Evil"). CCFW

leadership explained that Bishops can subjectively arrive at different conclusions in their
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assessment of "Cooperation with Evil" and that Bishops have authority to direct programs

operating within their diocese based on their interpretation. CCFW leadership shared that the

outcome of this process in the Fort Worth area meant CCFW would continue to operate federal

child welfare programs for Unaccompanied Children and Unaccompanied Refugee Minors

notwithstanding Obergefell, but that the Obergefell decision necessitated changes to policies

concerning the identities of permissible foster parent applicants.

         10. Around the time of Obergefell, CCFW leadership and employees began to discuss

how foster families needed to reflect or mirror "the holy family" as a requirement to become a

licensed foster family. In their view, there was no "family" unless it was a married male-female

couple with children. In order to enforce this policy of "mirroring the holy family," single

people    regardless of sexual orientation. were not allowed to become foster parents, and

lesbian and gay people, whether married or single, continued to be prohibited from licensure.

Prior to implementation of this policy, CCFW would license single people as foster parents

regularly. At the time the policy was changed, there were three single foster parents with

URM/UC placements, and there had been more before. The three licensed single foster parents

with children placed in their homes were allowed to be grandfathered in under the new policy,

but later there was discussion that no new URM/UC youth would be placed in their homes,

which would have effectively resulted in their homes closing once the youth already placed in

their homes left foster care.

         11. At the time of the single-parent policy was changed, at least two different single

women who were in the pipeline to become foster parents were turned away as a result of the

new requirement that applicants "mirror the holy family." Another program manager and I called

the single foster parent applicants who were in the process of becoming licensed to let them

know we would not be able to move forward with licensing them. The woman I called had
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almost finished the licensure process and already accepted a sibling group of approximately 4

children to be placed in her home. She had already purchased bunk beds for the youth. When I

spoke with her over the phone and told her we would not be able to license her as we were only

allowed to license couples moving forward, she said "but my husband just died." I understood

this to mean that since her husband had only died a couple years ago, she was upset that she was

so close to being able to be licensed and that now that her husband was dead, she was no longer

eligible to become a foster parent. I asked CCFW leadership to reimburse the woman for the cost

of the bunk beds, and then I was tasked with finding a different foster home who could take a

large sibling group at the risk of otherwise having to split the siblings across multiple foster

homes. I recall my coworker had to call a single foster parent applicant who had separated from

her previous husband due to intimate partner violence, and I remember discussing how upsetting

that could be for the applicant to be told she was suddenly ineligible for foster placement because

she was single after her experience of intimate partner violence.

       12. In or about August of 2015 when the "single parent policy" was rolled out,

prohibiting us from licensing single adults, CCFW leadership also discussed that the Bishop's

preference for foster family licensing was to prioritize Catholic families first, then Christian

families. Previously we had licensed people of various faiths, and our policies and practices of

recruiting within communities with diverse religions and ethnicities were critically important to

providing quality care for URM/UC children and youth.

       13. CCFW policies required us to make every effort to place youth ages 12 and under in

an ethnically matched foster home to support their cultural development; when we were unable

to do so, we had to justify and document as much in the youth's file. Further, youth in foster care

in Texas, including URM and UC youth served by CCFW, had explicit rights to speak and be

spoken to in their own language. Foster care agencies in Texas were tasked in making every
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effort to place children and youth with foster parents who can communicate with foster youth

placed in their home, and foster families were required to be able to communicate with foster

youth in the foster youth's own language or have means to communicate with the youth in the

youth's own language. Inability to meet these requirements had to be documented. Subsequently,

CCFW made every effort to recruit foster families who spoke the languages spoken by

URMs/UCs, including Spanish, Arabic, Swahili, Lingala, Burmese, etc. Since the majority of

CCFW foster families spoke English, federal funding had to pay for interpretation services as

needed when CCFW was unable to recruit diverse foster families. CCFW policies required us to

continue recruiting until a foster family who spoke the youth's language could be recruited and

licensed or until the foster family and youth placed in their home were able to develop a way to

communicate with each other.

       14. Per our policies prior to 2015, we worked to recruit Muslim families and partnered

with at least one Muslim organization in our attempts to license Muslim families, because it was

particularly challenging to recruit Muslim foster families which made it harder to match

Rohingya, Hazara, or Somali youth by language or ethnicity. We even held recruitment events at

various religious organizations and in nonreligious settings, which was reported to USCCB.

However, after the changes were made in response to Obergefell, CCFW leadership

communicated that, per the Bishop's request, we were to license Catholic families first, then

Christian families, then non-Christian families in that order. CCFW leadership shared that the

Bishop would prefer we would only license Catholic couples, but we discussed how that would

be impossible to sustain since we had so few Catholic couples who were licensed or seemed

interested in becoming licensed.

       15. There were also discussions on CCFW leadership's preference to not license any non-

Christian families at all. Around this time, I remember CCFW leadership asking me to look and
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see if there was anything in our contract or other program requirements that required we worked

to recruit Muslim families. My understanding is that we were being asked to stop licensing non-

Christian families by executive CCFW leadership, and some at CCFW were trying to see if there

was any way we could show we were required to recruit non-Christian families. I showed staff

our policies and annual work plan which indicated we were to recruit families from diverse

backgrounds. Not being able to license Muslim families would have made it virtually impossible

to place Rohingya, Hazara, or Somali children in foster homes that were language or ethnicity

matches. I also assisted in licensing an atheist couple in summer 2016, and it was my

understanding we did not know they were atheist until we completed the home study. At that

point, we had already designated two foster youth to be placed with the atheist family because

the foster youth's previous foster parents decided to close their home, requiring CCFW to find

another foster home to care for the two foster youth already in care. I was later told by CCFW

staff that the family I assisted in licensing was intended to be the last non-Christian family they

allowed into the program.

       16. There were also increasingly stringent expectations of foster families, URM, and UC

youth to follow Catholic Church's teaching on sexuality. In the beginning of my time at CCFW,

there were limitations on who could discuss contraception with foster youth. CCFW staff and

foster parents were prohibited from discussing contraception, and foster parents were to take

foster youth to the doctor where medical professionals could discuss contraception as necessary.

Later on, it was discussed that CCFW did not even want foster parents to provide transportation

for youth to go to the doctor or to go to the pharmacy to pick up contraception medications,

regardless of whether contraception was provided for medical reasons outside of sexual activity.

State foster care regulations generally require that foster care staff and foster parents follow

doctors' orders, including filling prescriptions prescribed by doctors, and refusing to fill
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prescriptions prescribed by doctors can be a major violation of best practices and licensing

requirements. During my employment at CCFW, URM/UC staff also reviewed "abstinence-

only" sexual education material that had been selected for us by CCFW leadership to use with

URM:UC youth. URM/UC staff shared our concerns with CCFW leadership about how harmful

the content could be for youth, including parts of the curriculum which described same-sex

behavior as being wrong or sinful and parts which told girls and young women to practice

modesty to prevent men from lusting after them. We were concerned what message this would

send to URM/UC youth, including many URM/UC youth who had experienced sexual assault

and rape. It was also understood that CCFW would never consent to a foster youth's abortion,

and if the foster youth was between ages 18-21 and obtained an abortion, CCFW would

discharge the foster youth from the foster care program. I was made aware of this policy as an

intern, asked to enforce this policy as an employee, and this remained the policy throughout my

employment at CCFW.

       17. Based on my personal observations, diminishing the pool of potential foster parent

applicants in the ways described above harms children and youth. When CCFW leadership first

told program management staff about the decision to further limit the pool of eligible potential

foster families, I vividly remember the first thing I said in response was "this means more kids in

camps." What I meant was that not licensing appropriate foster families for characteristics which

did not impact their ability to provide a safe home would result in CCFW saying no to more

referrals of URM/UC youth in need of placement, leaving them in dangerous situations. Over the

course of my work with CCFW, we chronically lacked sufficient foster homes in which to place

children and youth. A severe shortage of foster parents caused many children to be stuck in

refugee camps abroad or in disfavored group settings instead of being safe in a foster home.

       18. For example, we would receive referrals from USCCB for refugee children living in
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refugee camps. Often, these referrals would be for youth who were 17 years old. We needed to

get conservatorship for these minors before they turned 18. The Tarrant County court system in

Fort Worth could process conservatorship for these children more quickly than other courts

working with URM programs, resulting in CCFW receiving a disproportionate number of

referrals for 17-year-old youth. To my knowledge, if CCFW was unable to place URM youth

nearing their 18th birthday in a foster home, there were no other federal foster care programs for

USCCII to send the referral because other locations' courts were unable to grant conservatorship

before the youth turned 18. To my knowledge, every time we said no to a URM/UC referral it

was only because we did not have a foster home who had room to take the URM/UC in. If we

could not accept URMs, they would be stuck in refugee camps abroad, unaccompanied,

ineligible for services, often in horrendous conditions.

       19. Other times, we would receive referrals of youth with medical conditions requiring

prompt treatment or complex treatment in the U.S.; with no available foster homes we either

were unable to accept the youth into the program or medical care would be delayed while we

finished licensing a new foster home because there were no other foster homes available. We

would also receive referrals for youth with companion cases where URMs had extended family

members who would be resettled in the adult resettlement program for whichever city accepted

the URM placement. Occasionally a related adult or child on the case would need prompt

medical care, and if we were unable to accept the URM youth, the entire family would be unable

to be resettled or face delays in resettlement, complicating the need for prompt medical care.

       20. We also received referrals for URMs residing in hostile foreign countries who would

be deported back to the country they fled from if we were unable to place them in foster homes

expeditiously. In order to be eligible as a URM, youth had to have fled their home country due to

war, violence, or persecution, be outside their country of origin, and be unable to avail
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themselves to the protection of their country of origin, and deporting URMs back to their country

of origin can have deadly consequences. On at least one occasion, USCCB sent us a referral for

approximately six URMs who urgently needed placement as the country they entered was about

to deport them. Their referral described how they all almost died in trying to flee their country of

origin and how many of their family members and neighbors had been persecuted,

disenfranchised, and killed. We only had enough foster homes to accept two of the six youth. I

am unsure if the other four children found safe placements or if they were deported back to the

country whose military regime had attempted to kill them.

       21. USCCB would regularly send us referrals of unaccompanied refugee children living

alone in refugee camps, complete with a photo of the child, and I would have to say no because

we didn't have enough foster homes for them. There was always a greater need for foster homes

with the number of children in need of resettlement and placement far exceeding the number of

available beds. At certain points USCCB would stop sending us referrals of children in need and

wait until we informed them we had a foster care placement bed open up because of how

frequently and regularly we had to say no to referrals of children due to a chronic severe shortage

of foster homes. I was never told what happened to the referrals I said no to due to not having

enough foster families, and while we were able to resettle the referrals we accepted, I was always

fearful the children might die of something like malaria or a militant attack on a refugee camp,

both of which are common occurrences within refugee camps.

       22. In addition to unaccompanied refugee minors, unaccompanied children also had

needs for a speedy and efficient court process. It was important for UCs to get special immigrant

juvenile status (SIJS) quickly because once they had SIJS, they could apply for the URM

program where they could stay in federal foster care until they were 21. However, CCFW had to

be appointed as conservator for the SIJS youth before they turned 18 to ensure eligibility into the
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URM program. Without getting conservatorship of SIJS youth before they turn 18, SIDS youth

would essentially age-out of foster care at age 18. Consequently, we received a significant

number of referrals for older children in the UC program, too. Prior to that happening, UC

children would be placed in shelters if they didn't have a family member deemed a safe and

appropriate placement or if a foster care agency like CCFW did not have enough foster homes to

provide a safe placement for UC youth.

       23. Based on our use of trauma-informed care models at CCFW, we understood that

harms to children in shelters can be extensive. For decades foster families have been preferable

over shelters. A child's experience in a shelter can be psychologically and educationally harmful

and disruptive to the child's development, particularly for younger children for whom it is

particularly important to have a consistent caregiver. Children can be vulnerable to abuse,

physical assault, and other forms of mistreatment in shelters, and frequently develop post-

traumatic stress disorder. A shelter placement is rarely in a child's best interest when a potential

foster placement is available as an alternative.

       24. Foster families are severely in short supply for domestic foster care in the U.S., but

there were additional challenges which made foster parent recruitment for immigrant children

and youth even more difficult, making our pool of potential applicants even smaller. We tried to

recruit in domestic foster care circles, but certain domestic foster parents and applicants would

be offended that we were there trying to recruit foster families to serve kids who would be

immigrating into the US while there was also a shortage of foster homes for domestic youth in

foster care. Subsequently, we stopped recruiting within those circles and had that much more

difficulty recruiting foster families than domestic foster care programs do. Anti-immigrant

sentiment and Islamophobia were additional barriers we faced which domestic programs did not

face to the same extent. During surges of unaccompanied children crossing the border, we even
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had a bomb threat to CCFW which required us to remove the name from one of the buildings for

another program that temporarily housed migrant youth before family reunification. Families

were concerned about language barriers with federal foster care, which was less commonly a

barrier for domestic foster care. In foster care, families commonly prefer to care for younger

kids, and finding foster families willing to take older youth is commonly a challenge. Since

CCFW served almost exclusively older international youth with few exceptions, this also made

CCFW's foster family pool even smaller. The time commitment was also an additional barrier

CCFW faced in foster family recruitment which was not a challenge within domestic foster care

to the same extent. Domestic foster care programs operate on the legal case timeline, which has

specific timeframes ranging from 12 months to 24 months as it revolves around the government

having the burden of proof for why children should not be returned to their parents. For federal

foster care, the majority of URM youth aged out of care by age 21, and federal foster care

programs need foster families to commit to being a foster parent for years. Subsequently, foster

families would at times quit because they couldn't maintain such a long commitment to care for

a child from age 17 to 21 (which would be one of the shorter placement durations).

       25. Placement disruptions are harmful to foster youth, and being a placement for a

URM/UC from age 17 to 21 is difficult for many families to commit to. We had attrition of

foster families, which meant new foster families had to be recruited to replace families who left,

in addition to needing to recruit new foster families to serve URM/UC children in unsafe

conditions in camps or shelters. Not only did a severe undersupply of foster parents result in

children being left in refugee camps or shelters, it also was harmful to the URM and UC children

and youth under CCFW's conservatorship. I can recall at least six youth who had placement

breakdowns where their foster parents decided to close their home, and we had no place to put

the youth because all other foster home beds were full. Due to this foster parent shortage, these
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URM youth spent short lengths of time in respite at various foster homes, had to change schools,

and experienced detrimental disruption and stress.

        26. When we had few foster homes to pick from, it was difficult to place youth in a foster

home best suited to meet their needs; at times, placing youth in a foster home simply because the

foster home had an open bed for the youth took precedent over the youth's best interests due to a

shortage of foster families.

        27. There was clear pressure from USCCB and the government to recruit more foster

families due to the high number of children who needed foster family placements who were

going unserved, left unaccompanied in camps or shelters with lasting risk of harm to their legal

immigration status. To add additional barriers to foster family recruitment when federal foster

family recruitment was already difficult enough made a small foster parent pool even smaller.

        28. CCFW program managers knew the risk of how much more difficult this would make

the already challenging task of foster parent recruitment and how harmful reducing the foster

parent pool would be for URM/UC children in unsafe situations. The other program managers

and I discussed our concerns over this policy change and the deadly effects it would have for the

children we worked to serve. We expressed our understanding that this policy was

communicating the idea that it was better for children to be unaccompanied in unsafe situations

than to be accompanied by single, non-Christian, or LGBTQ+ caregivers in safe homes. From

my conversations with CCFW, it was understood that CCFW was aware of the effect of this

policy, that its recruitment policies would in effect result in children remaining unaccompanied

in unsafe situations rather than be accompanied by single, non-Christian, or LGBTQ+ parents in

a safe situations.

        29. The entire program budget depended on the recruitment of foster parents. The size of

the grant and the reimbursement for expenses turned on the number of foster parents recruited,
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trained, licensed, and available. The number of new foster families recruited determined the

number of trainers and home developers working within the agency as they could only train and

license so many families at once. With more newly recruited foster families, we could hire more

staff for training and licensure, but with fewer recruited foster families, we were at-risk of having

to cut those positions. We would also consider new families with new placements when we could

calculate mileage reimbursements for staff — with fewer foster families, less would be spent on

mileage, putting the mileage line item at risk of being underspent.

       30. As part of licensing foster parents, staff assessed the number of children they could

appropriately care for. Once we placed those children in their home, the family would be

reimbursed approximately $45 a day per child. For serving approximately 20-50 URMs within a

year, foster parent reimbursements made up a large portion of our budget. Whenever we would

create our budget, we estimated how many new foster families we expected to recruit and how

many URMs we expected to place in those families. We consistently overestimated the number

of foster families we thought we could recruit, so while we thought we might be able to serve 50

kids a year, we would only end up serving 30 kids a year because we were unable to find enough

foster homes for the other 20 children we expected to be able to serve, resulting in a lot of

unspent funding due to not having places to put URM children and having to decline referrals.

       31. After being underspent on the grant for at least more than one fiscal year, in 2014,

CCFW's URM program had a significant budget cut because of unspent funding due to the

inability to recruit enough foster families. As a result of the budget cut, important vacant

positions were not filled, including a case manager and our Educational Specialist. Case

managers could only serve so many children on a caseload, so the number of children we placed

determined how many case managers we hired. The number of case managers or home

developers we had on staff determined how many program managers we needed to supervise
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these positions. The Educational Specialist position was cut with their tasks being allocated to

case managers, but previously the Educational Specialist was a skilled position available to assist

with school enrollment, special needs testing, English as a Second Language (ESL) services, and

tutoring — all of which were critical to immigrant youth succeeding educationally. Further, the

budget covered lots of youth expenses which had expenses tied to each child, including the

estimated costs of tutoring per anticipated youth, interpretation per youth, legal assistance per

youth, respite (paid babysitting for foster families) per youth, international phone cards per

youth, etc. With fewer youth served due to insufficient foster families recruited, we would be

underspent in these categories as well.

       32. My understanding of our purpose as a federal foster care provider was that we

provided foster parents to unaccompanied children and unaccompanied refugee minors - that we

helped them go from being "unaccompanied" to "accompanied." Each best interest

determination (BID) sent to me by USCCB described children's eligibility in the URM/UC

program within two prongs: 1) their eligibility as a refugee or unaccompanied child (the

harrowing experiences of children fleeing persecution and facing likely death if the US or their

current country-of-residence were to deport them back to their country-of-origin) and 2) their

eligibility as an unaccompanied refugee minor or unaccompanied child, specifically what

happened to the child's parents and how the child became unaccompanied.

       33. To work with unaccompanied children is to know that they were not always

unaccompanied. We typically did not work with very young children because very young

children (ages 0-7) typically do not survive an unaccompanied flight from their country-of-origin

or survive living unaccompanied in a refugee camp. We were able to work with children

typically ages 8-17 because they were previously accompanied. The BIDs I read began with a

picture of the child's face and then detailed what happened to each child's parents: mothers and
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fathers, parents who put their babies on boats, placed their children in trunks of cars or into the

hands of strangers to escort them to a safer, future country. By the time I was a Program

Manager of the URM/UC programs, we had served over 100 children, and each of their USCCB

referrals detailed what happened to their parents and how the children became unaccompanied in

the first place. While many children faced persecution that their parents did not (i.e. child

soldiers) which resulted in their parents sending their children away while the parents remained

behind, many other accounts described parents dying en route to a safer, future country and

placing their children in the hands of relatives, loved ones, and even strangers, asking them to

make sure the entrusted adult keeps their child safe and alive and en route.

       34. After accepting a USCCB referral, picking a child up from the airport, and placing

them into a foster home, I would often wonder about the child's parents. Having read what their

parents went through to keep their children alive and get them to a safe country, I would wonder

what their parents would think of the foster family I licensed: what they thought of the home I

put their child in, the family I placed their child with. After I was told by CCFW leadership that I

would not be able to license single parents due to the Obergefell ruling, it was very difficult to

think of the parents who put their babies on boats, their children in trunks, parents who put their

children's lives in the hands of strangers like me, only to have those strangers fail them. Parents

who were failed by strangers like me who were not able to grant their children safe passage to a

future country where their children could live safely and without persecution, where their

children could stay alive. I became a parent myself in the last three months of my employment at

CCFW, but even before I became a parent, I knew the gravity of what over 100 children's

parents gave up for their children and the cruelty of what our program, CCFW, did with full-

knowing of how harmful policies prohibiting any single, non-Christian, or LG13TQ parent were

to children and the legacies of their parents. Knowing how much the parents of URM children
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gave up all to make sure their children reached a safer, future country, I do not imagine any of

them agreeing with the idea that it is better for their children to live alone, in an unsafe refugee

camp where they continue to face persecution and risk of death than to be placed with a single,

non-Christian, or LGBTQ parent in a safer country. I declare under penalty of perjury that the

foregoing is true and correct. Executed on this 26th day of July, 2022.

                                               Res     tfully Submitted



                                               Catelyn Devlin




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